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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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TRITON PACIFIC SECURITIES, LLC,                                 :

                            Plaintiff,                            :

                                                                  :          ORDER
                  -against-
                                                                  :    19-CV-5789 (KNF)
MISSION CRITICAL SERVICES CORP.,
                                                                  :
                             Defendant.
--------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         A telephonic conference shall be held with the parties on November 5, 2020, at 11:00

a.m. The parties are directed to call (888) 557-8511 and, thereafter, enter access code 4862532.

Dated: New York, New York                                         SO ORDERED:
       November 2, 2020
